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AO93 Search and Seizure Warrant

UNITED STATES DISTRICT COURT

for the
District of Arizona

In the Matter of the Search of Case No.
Subject Cellular Telephone 1, a black Motorola smartphone 2 | _¥ 240 Ane
device model G7 with IMEI number 354133 102336774; and oe :
Subject Cellular Telephone 2, a black Samsung smartphone
device model SM-J327T with IMEI 352002094988201.

SEARCH AND SEIZURE WARRANT

To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search of the
following person or property located in the District of Arizona:

As further described in Attachment A.

I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or
property described above, and that such search will reveal:

As set forth in Attachment B.

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YOU ARE COMMANDED to execute this warrant on or before! Winoiy 7 . Wu (not to exceed 14 days)
C] in the daytime 6:00 a.m. to 10:00 p.m. & at any time in the day or night as I find reasonable cause has been established.

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken
to the person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where
the property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an
inventory as required by law and promptly return this warrant and inventory to any United States Magistrate Judge on
criminal duty in the District of Arizona.

C]I find that immediate notification may have an adverse result listed in 18 U.S.C. § 2705 (except for delay of trial),
and authorize the officer executing this warrant to delay notice to the person who, or whose property, will be searched or
seized DO) for _30_ days (not to exceed 30) C until, the facts justifying, the later specific date of

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Date and time issued: Lift (| d [ co
Judge's signature

City and state: Phoenix, Arizona Honorable John Z. Boyle, U.S. Magistrate Judge
Printed name and title

 
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ATTACHMENT A

Property to be searched

This search warrant applies to information and items associated with and stored or
maintained in or on Subject Cellular Telephone 1 described as a black Motorola
smartphone device model G7 with IMEI 354133102336774 and Subject Cellular
Telephone 2 described as a black Samsung Model SM-J327T smartphone device with
IMEI 352002094988201. Both of the Subject Cellular Telephones are currently in the
custody of the Federal Bureau of Investigation and located at the FBI Phoenix Field Office,
21711 North 7th Street in Phoenix, Arizona.

This warrant authorizes the forensic examination of both of the Subject Cellular

Telephones for the purpose of identifying the electronically stored information described

in Attachment B.

 
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ATTACHMENT B
Property to be seized

The United States intends to search for, and to seize, any items that constitute
fruits, evidence and instrumentalities of violations of 18 U.S.C. § 2113, Bank Robbery
and Incidental Crimes. These violations relate to the activities of Taylor STEWART and
her associates, as described in the Affidavit. The items to be searched for and to be
seized include information, data, files, and other content from each of the Subject

Cellular Telephones described in Attachment A pertaining to the following matters:

a) The engagement and involvement of Taylor STEWART and her associates in bank
robbery.

b) Communications, messages, emails, conversations, photos, videos, notes,
documents, files or other content indicating, identifying, or depicting the clothing,
tools, methods, or instruments used to facilitate bank robberies as depicted in bank

surveillance images and/or described by witnesses.

c) Communications, messages, emails, conversations, photos, videos, locations, maps,
routes, schedules, calendars, notes, or other information related to the planning,

preparation, and/or execution of bank robberies.

d) Documents, photos, images, video, communications, emails, messages, or other
items bearing the name of, identifying, or referring to the victim financial

institutions.

e) Documents, photos, images, video, communications, emails, messages, records,
information, or other items indicating the occupancy, rental, use or ownership of

any vehicles used in or to facilitate the commission of the crime.

 
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Photos, videos, statements, conversations, messages, or other digital content
depicting Taylor STEWART or her associates, with the tools or instrumentalities

used in the commission of the bank robberies.

Documents, receipts, records, search results, communications, photos, videos,
communications, or other content related to the purchase and/or use of tools or other

items used to facilitate the criminal activity.

Notes, documents, messages, images, videos, or communications identifying or

containing the names or contact information of associates of Taylor STEWART.

Notes, documents, records, messages, images, videos, communications or other
items identifying the ideology, motivation, preparation, and planning related to bank

robbery and incidental crimes or any other robberies.

GPS location and/or positioning information indicating or identifying the location

history of the Subject Cellular Telephones and/or their users.

Calendars, diaries, notes, or other documents used to record schedules, meetings,
conversations, or other events related to the planning, preparation, and/or execution

of robberies.

Diaries, journals, ledgers, photographs, maps, or other personal records indicating
the locations or activities of conspirators leading up to the robberies and other

planning activities.

m) Maps, routes, location data, pictures, photographs, videos of or related to the offense

n)

locations or the locations of the planning, preparation, and/or execution of bank

robberies, or travel related to the criminal activity since August, 2021.

Documents or other information related to schedule, lodging, and/or travel of co-

conspirators and associates.

 
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Photographs, videos, messages and images showing STEWART, criminal
associates, U.S. currency, tools or instruments used in the criminal activity, real and

personal property, firearms, or controlled substances.
Indicia or ownership, occupancy, rental, or use of vehicles.

Account information, settings, and saved usage information for all installed

applications, or “apps,” on the device. Indicia of account ownership or usage.

Any and all information/records that would tend to show that the crime of bank
robbery or incidental crimes or other robberies has been committed and/or
information or records that would assist in identifying any other individuals

associated with these crimes.

Records relating to the receipt, transportation, deposit, transfer, or distribution of
money, including but not limited to, direct deposit confirmations, wire transfers,
money orders, cashier’s checks, check stubs, PayPal or other electronic money
transfer services, check or money order purchase receipts, account statements, and

any other records reflecting the receipt, deposit, or transfer of money

As used above, the terms “records” and “information” includes records of telephone

calls; names, telephone numbers, usernames, or other identifiers saved in address books,
contacts lists and other directories; text messages and other stored communications;
subscriber and device information; voicemails or other audio recordings; videos;
photographs; e-mails; internet browsing history; calendars; to-do lists; contact information;
mapping and GPS information; data from “apps,” including stored communications;
reminders, alerts and notes; and any other information in the stored memory or accessed

by the electronic features of the cellular telephone.

This warrant authorizes a review of records and information seized, copied or disclosed

pursuant to this warrant in order to locate evidence and instrumentalities described in this

warrant. The review of this electronic data may be conducted by any government personnel

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assisting in the investigation, who may include, in addition to law enforcement officers
and agents, attorneys for the government, attorney support staff, and technical experts.
Pursuant to this warrant, the FBI may deliver a complete copy of the seized, copied, or
disclosed electronic data to the custody and control of attorneys for the government and

their support staff for their independent review.

 
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AO 106 Application for a Search Warrant

UNITED STATES DISTRICT COURT

for the
District of Arizona

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In the Matter of the Search of Case No. an . Zt 4 vu V %
Subject Cellular Telephone 1, a black Motorola smartphone ,
device model G7 with IMEI number 354133 102336774; and
Subject Cellular Telephone 2, a black Samsung smartphone
device model SM-J327T with IMEI 352002094988201.

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APPLICATION FOR A SEARCH WARRANT

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property:

As further described in Attachment A

located in the District of Arizona, there is now concealed:

As set forth in Attachment B.

The basis for the search under Fed. R. Crim. P. 41(c) is:
evidence of a crime;
LJ contraband, fruits of crime, or other items illegally possessed;
XX] property designed for use, intended for use, or used in committing a crime;
Ca person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:
Code/Section Offense Description
18 ULS.C. § 2113 Bank Robbery and Incidental Crimes

 

The application is based on these facts:
See attached Affidavit of FBI SA Travis K. Bodily

Continued on the attached sheet.

O Delayed notice of _30_ days (give exact ending date if more than 30 days: ) is requested
under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

Reviewed by AUSA Brian E. Kasprzyk2C A = K, BAth,
Applicant's Signature “

Travis K. Bodily, Special Agent
Printed name and title

 

 

Sworn to before me telephonically. . ay
Date: _| i! b/ 2 | pOr9 bh Judge’s signature
City and state: Phoenix, Arizona Honorable John Z. Boyle, U.S. Magistrate Judge

 

 

Printed name and title

 
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ATTACHMENT A

Property to be searched

This search warrant applies to information and items associated with and stored or
maintained in or on Subject Cellular Telephone 1 described as a black Motorola
smartphone device model G7 with IMEI 354133102336774 and Subject Cellular
Telephone 2 described as a black Samsung Model SM-J327T smartphone device with
IMEI 352002094988201. Both of the Subject Cellular Telephones are currently in the
custody of the Federal Bureau of Investigation and located at the FBI Phoenix Field Office,
21711 North 7th Street in Phoenix, Arizona.

This warrant authorizes the forensic examination of both of the Subject Cellular

Telephones for the purpose of identifying the electronically stored information described

in Attachment B.

 
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ATTACHMENT B
Property to be seized

The United States intends to search for, and to seize, any items that constitute

fruits, evidence and instrumentalities of violations of 18 U.S.C. § 2113, Bank Robbery

and Incidental Crimes. These violations relate to the activities of Taylor STEWART and

her associates, as described in the Affidavit. The items to be searched for and to be

seized include information, data, files, and other content from each of the Subject

Cellular Telephones described in Attachment A pertaining to the following matters:

a)

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d)

The engagement and involvement of Taylor STEWART and her associates in bank
robbery.

Communications, messages, emails, conversations, photos, videos, notes,
documents, files or other content indicating, identifying, or depicting the clothing,
tools, methods, or instruments used to facilitate bank robberies as depicted in bank

surveillance images and/or described by witnesses.

Communications, messages, emails, conversations, photos, videos, locations, maps,
routes, schedules, calendars, notes, or other information related to the planning,

preparation, and/or execution of bank robberies.

Documents, photos, images, video, communications, emails, messages, or other
items bearing the name of, identifying, or referring to the victim financial

institutions.

Documents, photos, images, video, communications, emails, messages, records,
information, or other items indicating the occupancy, rental, use or ownership of

any vehicles used in or to facilitate the commission of the crime.

 
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Photos, videos, statements, conversations, messages, or other digital content
depicting Taylor STEWART or her associates, with the tools or instrumentalities

used in the commission of the bank robberies.

Documents, receipts, records, search results, communications, photos, videos,
communications, or other content related to the purchase and/or use of tools or other

items used to facilitate the criminal activity.

Notes, documents, messages, images, videos, or communications identifying or

containing the names or contact information of associates of Taylor STEWART.

Notes, documents, records, messages, images, videos, communications or other
items identifying the ideology, motivation, preparation, and planning related to bank

robbery and incidental crimes or any other robberies.

GPS location and/or positioning information indicating or identifying the location

history of the Subject Cellular Telephones and/or their users.

Calendars, diaries, notes, or other documents used to record schedules, meetings,
conversations, or other events related to the planning, preparation, and/or execution

of robberies.

Diaries, journals, ledgers, photographs, maps, or other personal records indicating
the locations or activities of conspirators leading up to the robberies and other

planning activities.

m) Maps, routes, location data, pictures, photographs, videos of or related to the offense |

n)

locations or the locations of the planning, preparation, and/or execution of bank

robberies, or travel related to the criminal activity since August, 2021.

Documents or other information related to schedule, lodging, and/or travel of co-

conspirators and associates.

 
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Photographs, videos, messages and images showing STEWART, criminal
associates, U.S. currency, tools or instruments used in the criminal activity, real and

personal property, firearms, or controlled substances.
Indicia or ownership, occupancy, rental, or use of vehicles.

Account information, settings, and saved usage information for all installed

applications, or “apps,” on the device. Indicia of account ownership or usage.

Any and all information/records that would tend to show that the crime of bank
robbery or incidental crimes or other robberies has been committed and/or
information or records that would assist in identifying any other individuals

associated with these crimes.

Records relating to the receipt, transportation, deposit, transfer, or distribution of
money, including but not limited to, direct deposit confirmations, wire transfers,
money orders, cashier’s checks, check stubs, PayPal or other electronic money
transfer services, check or money order purchase receipts, account statements, and

any other records reflecting the receipt, deposit, or transfer of money

As used above, the terms “records” and “information” includes records of telephone

calls; names, telephone numbers, usernames, or other identifiers saved in address books,
contacts lists and other directories; text messages and other stored communications;
subscriber and device information; voicemails or other audio recordings; videos;
photographs; e-mails; internet browsing history; calendars; to-do lists; contact information;
mapping and GPS information; data from “apps,” including stored communications;
reminders, alerts and notes; and any other information in the stored memory or accessed

by the electronic features of the cellular telephone.

This warrant authorizes a review of records and information seized, copied or disclosed

pursuant to this warrant in order to locate evidence and instrumentalities described in this

warrant. The review of this electronic data may be conducted by any government personnel

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assisting in the investigation, who may include, in addition to law enforcement officers
and agents, attorneys for the government, attorney support staff, and technical experts.
Pursuant to this warrant, the FBI may deliver a complete copy of the seized, copied, or
disclosed electronic data to the custody and control of attorneys for the government and

their support staff for their independent review.

 
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AFFIDAVIT IN SUPPORT OF SEARCH WARRANT

Your Affiant, Travis K. Bodily, being first duly sworn, hereby deposes and states

as follows:
INTRODUCTION AND AGENT BACKGROUND

L. Your Affiant makes this Affidavit in support of an application under Rule 41
of the Federal Rules of Criminal Procedure for a warrant to examine two cellular

telephones:

° Subject Cellular Telephone 1 is a black Motorola smartphone device with
a cracked screen, with IMEI number 354133102336774 written on the tray for the
SIM card. The IMEI indicated it was a model G7; and

° Subject Cellular Telephone 2 is a black Samsung Model SM-J327T
smartphone device with IMEI 352002094988201,

further described in Attachment A (hereafter “Subject Cellular Telephones”), in order to
extract the electronically stored information set forth in Attachment B, which represent

evidence and/or instrumentalities of the criminal violations further described below.

2. Based on the facts set forth in this Affidavit, my training and experience, and
in consultation with other experienced investigators, there is probable cause to believe that
violations of Title 18, United States Code (U.S.C.), Section 2113 Bank Robbery and
Incidental Crimes have been committed by the users of the Subject Cellular Telephones.
There is also probable cause to search the Subject Cellular Telephones described in

Attachment A for evidence of these crimes, as described in Attachment B.

3. Your Affiant is a Special Agent with the Federal Bureau of Investigation
(FBI) and has been appointed as a Special Agent since June 2010. I am assigned to the

Violent Crime Task Force and have been since 2017. My duties include the investigation

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of crimes such as those at issue in this matter. Prior to investigating violent crimes, I

investigated counterintelligence and counterproliferation matters for the FBI.

4, The facts in this Affidavit come from your Affiant’s own investigation,
training and experience, the investigation of other agents and law enforcement officers,
surveillance conducted by law enforcement officers, review of law enforcement databases,
the acquisition and review of surveillance footage, and information obtained from

witnesses.

5, This Affidavit is intended to show merely that there is sufficient probable
cause for the requested warrant and does not set forth all the relevant facts known to law

enforcement officers.

INVESTIGATION

6, The FBI Violent Crimes Task Force, along with other local law enforcement
agencies has been investigating a series of bank robberies, in violation of 18 U.S.C § 2113,
which have occurred since September 23, 2021. Investigators believe the same individual
is responsible for this series of bank robberies. During this bank robbery series, a white or
Hispanic female has entered the bank and committed bank robbery at four different bank
locations within the District of Arizona, to include the cities of Mesa, Scottsdale, and
Tempe, Arizona. The suspect has worn the same or similar clothing in each robbery and
has made similar written demands for cash. The suspect has also used the same modus

operandi in each robbery.

7. The United States currency stolen during each of the bank robberies
described in this Affidavit was federally insured by either the Federal Deposit Insurance
Corporation (FDIC) or the National Credit Union Administration (NCUA) at the time of

the robberies.

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Bank Robbery #1

8. On September 23, 2021, at approximately 1:42 p.m., an unidentified white
or Hispanic female suspect entered the Desert Financial Credit Union located inside the
Walmart store at 1606 South Signal Butte in Mesa, Arizona. Once inside the bank, the
suspect approached the victim/teller and passed a handwritten robbery demand note to the
victim/teller. The note demanded money from the cash drawer, and indicated the suspect
had a firearm. The victim/teller complied and gave the suspect $120.00 in United States

currency.

9, Review of bank surveillance footage showed the suspect as a white or
Hispanic female, approximately 5’0 to 53 tall, 25-35 years of age, 150-160 pounds, long
brown hair wearing black and white sneakers, gray and black colored shorts, a black, short-
sleeved tee shirt, and black/gray and white bandana. The suspect was carrying a black,

over the shoulder type purse/bag with a gold label or buckle.

10. Upon obtaining the currency, the subject exited the Walmart. No vehicles

were observed. The subject did not display a firearm.
Bank Robbery #2

11. On October 4, 2021 at 3:38 p.m., an unknown white or Hispanic female
entered the U.S. Bank located inside the Safeway store at 1855 North Power Road in Mesa,
Arizona. The suspect approached the victim/teller and asked about opening a new account.
The suspect then passed a demand note that stated, “All the $ in the bag. Big Bills, 20-50-
100’s. I have a gun. No alarms. No dye packs. I am being made to do this. Thank you.”
The victim/teller complied and gave the suspect $2,160.00 in United States currency. The
suspect placed the currency in a bag she was carrying and exited the store via the south

entry/exit doors.

 
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12. Review of bank surveillance showed the suspect as a white or Hispanic
female, 25-35 years of age, 5°3-5’5, 130-150 pounds, brown hair, dark hair, circular tattoo
on her right forearm, wearing white/gray sneakers, blue jeans, black short sleeved tee shirt,
black and white bandana covering the mouth and nose, and carrying a large, over the

shoulder type bag or purse.
13. No vehicles were observed. The subject did not display a firearm.
Bank Robbery #3

14. On October 9, 2021 at 12:20 p.m., an unknown white or Hispanic female
entered the Chase Bank located at 2902 North Scottsdale Road in Scottsdale, Arizona. The
suspect approached the victim/teller and stated she needed to make a withdrawal. The
suspect then passed a handwritten robbery demand note through the partition that read in
part, “I’m sorry. This is a robbery. I have a gun in the bag. Empty all the money in your
register.” The victim/teller complied and gave the suspect $1,231.00 in United States
currency. The suspect placed the currency in a bag she was carrying and exited the bank.
The suspect was observed walking west on the north side of Thomas Road, toward an

adjacent business.

15. Review of bank surveillance showed the suspect as a white or Hispanic
Female, 25-35 years of age, 5’3-5’5, 130-150 pounds, brown hair, circular tattoo on her
right forearm, wearing white/gray sneakers, blue jeans, black short sleeved tee shirt, black
and white bandana covering the mouth and nose, and carrying a large, over the shoulder

type bag or purse.
16. Initially, no vehicles were observed. The subject did not display a firearm.

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Further Investigation

17. All bank locations were processed for latent fingerprints, but none were
developed. Swabs were obtained from each bank location for possibly future DNA

analysis.

18. Following the bank robbery on October 9th, investigators from Scottsdale
Police and the FBI Violent Crime Task Force conducted a canvas for surveillance footage
from adjacent businesses. Investigators discovered the Old Town Smoke Shop, located at
7156 East Thomas Road in Scottsdale, Arizona was equipped with numerous exterior
surveillance cameras. The smoke shop is located in a building to the west of the Chase
Bank. An alley on the west side of the smoke shop leads to the parking lot on the north
side of the building. On October 11, 2021, surveillance footage was obtained from the Old
Town Smoke Shop covering the time frame between 12:00 p.m. to 1:00 p.m. on October

9, 2021. That surveillance footage was reveiwed.

19. On October 9, 2021 at 12:00 p.m., surveillance footage shows an older
model, dark gray colored, Toyota Tacoma pick-up truck turning north into the parking lot
from westbound Thomas Road. The vehicle parks directly in front of, and north of an
exterior surveillance camera. A female subject is observed exiting the rear, passenger side
door of the vehicle, and walking to the area just outside the front doors of the smoke shop.
The female subject matches the physical and clothing description of the suspect who later
robbed the Chase Bank. An unknown white or Hispanic male, 5’8-5’10, thin build, brown
hair, wearing black shorts, white tee shirt, and tattoos covering both arms is observed

exiting the truck from the rear passenger seat and walking.

20. The Toyota Tacoma pick-up truck was observed exiting the parking lot,
leaving the male and female behind. Other exterior store surveillance cameras show the

truck driving east on Thomas Road and then entering a parking lot on the south side of

 
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Thomas Road. The truck is observed driving east and westbound on Thomas Road,

eventually making a u-turn and re-entering the smoke shop parking lot at 12:14 p.m.

21. The female is observed standing outside the truck. The male and the female
are seen talking and interacting. At some point, the male gives the female a dark colored
bandana which he had been wearing. At 12:16 p.m., the female subject is observed walking
south on the west side of the building toward Thomas Road. At 12:19 p.m., as the female
subject is walking down the alley on the west side of the smoke shop, she is observed tying
a dark colored bandana around her face. The female subject is then observed walking east

on Thomas Road, toward the Chase Bank, and out of camera view.

22. At 12:22 p.m., the female is observed walking/jogging westbound on
Thomas Road from the Chase Bank, passing in front of the smoke shop, and then turning
north in the alley/driveway on the west side of the smoke shop toward the rear parking lot.
The female subject is observed getting into the rear, passenger side door of the truck. The

truck then exited the driveway, and was observed driving westbound on Thomas Road.

23. The smoke shop surveillance camera captured the license plate of the vehicle.
The vehicle was bearing Arizona license plate 13A8SA. This license plate returns to a
2010, Toyota Tacoma, pick-up truck. The registered owner was listed as Antolina Castillo

at an address on Madison Street in Phoenix, Arizona.

24. Upon obtaining a known photograph of Castillo, she shares similar physical
characteristics to the female bank robbery suspect. Castillo has historical addresses in the
city of Apache Junction, Arizona. Investigators responded to the historical addresses in

Apache Junction, and checked the surrounding area.

25. On October 11, 2021 at approximately 2:00 p.m., investigators observed the
Toyota Tacoma, bearing Arizona license plate 13A8SA in the parking lot of a gas station

on the Southeast corner of Apache Trail and Ironwood Drive in the city of Apache Junction.

 
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26. On October 11, 2021, a search warrant was issued in the District of Arizona
authorizing law enforcement to install a tracking device on the Toyota Tacoma. On
October 12, 2021, law enforcement again located the Toyota Tacoma, installed the tracking

device, and continued surveillance of the vehicle.

27. On October 13, 2021, investigators reviewed the vehicle tracking
information of the Toyota Tacoma for the previous night. It was determined the vehicle
had been at the Red Roof Inn located at 2135 West 15th Street in Tempe, Arizona. An
investigator made contact with management at the Red Roof Inn and showed surveillance
images of the female bank robbery suspect to the employee. The hotel employee
recognized the female as a person who had been a recent guest of the hotel. The employee
advised that on Monday, October, 11, 2021, the female and her boyfriend were kicked out
of the hotel for using drugs in the room. The female was identified through hotel records

as Taylor Stewart (STEWART).

28. A check of the Arizona Motor Vehicle Division (MVD) database located
driver’s license information and a photo for STEWART. Review of the biographical
information and photo of STEWART revealed similarities and physical characteristics

matching those of the female bank robbery suspect.

29, Investigators continued to maintain surveillance in the vicinity of the Red
Roof Inn. While maintaining surveillance, an investigator observed a white or Hispanic
male with tattoos on his arms exit the Extended Stay America hotel located at 2165 West
15th Street in Tempe, Arizona. This male matched the physical description of the unknown
male captured on the Old Town Smoke Shop surveillance video with the female suspect
and the Toyota Tacoma on October 9, 2021. Shortly thereafter, a female matching the
description of STEWART exited the Extended Stay America hotel and met up with the

male.

 
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30. Investigators observed STEWART and the male get into a vehicle, driven by
another unknown male. It is noted that this vehicle was not the Toyota Tacoma. The
vehicle traveled to the CVS pharmacy located at 802 South Mill Avenue in Tempe,
Arizona. At the CVS, the male driver appear to have purchased some food or candy items.
The two males and STEWART were observed standing outside the CVS while the food

items were consumed.

31. Investigators noted that a Chase Bank was located at 830 South Mill Avenue
in Tempe, Arizona, across the parking lot just south of the CVS where STEWART and the

males were standing.
Bank Robbery #4

32. Investigators observed STEWART cover her face with a dark colored
bandana, similar to the one observed in the previous bank robberies, and put on sunglasses
before walking quickly towards the Chase Bank located at 830 South Mill Avenue in
Tempe, Arizona. STEWART was carrying a dark colored bag similar to that used in the
other three bank robberies. STEWART entered the bank and approached the business
transaction teller and presented a robbery demand note which read “Hand Over The Money

And I Won’t Shoot, Total is 4,320.”

33. The victim/teller realized it was a robbery and complied with the demand
note providing STEWART with United States currency. Approximately $3,700 was taken
in this robbery. STEWART took the money and fled the bank on foot. A law enforcement
officer confirmed that STEWART had robbed the bank at approximately 12:38 p.m.

34. After exiting the bank, law enforcement officers apprehended STEWART
and took her into custody at approximately 12:40 p.m. Law enforcement also detained the
male who had been with STEWART. The male was identified as Kevin Holt. While
detained, Holt made spontaneous statements that STEWART had gone into the bank to

 
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pick up a money transfer that her father had sent her. Holt said he and STEWART were
staying in room #301 at the Extended Stay Hotel, 2165 West 15th Street in Tempe, Arizona.
Holt also said that STEWART had a drug problem. Investigators also seized both of the
Subject Cellular Telephones from him.

35. STEWART and Holt were transported to the Phoenix Police Department to
be interviewed. STEWART was provided with her Miranda Rights warning and advised

she understood her rights and was willing to speak to investigators without an attorney.

36. During the interview, STEWART was shown still images from surveillance
video from the four bank robberies referenced above. STEWART made statements
admitting that she had committed all four of the bank robberies referenced in this Affidavit.
- STEWART said that she had written the demand notes herself. She said she threatened the
gun to scare the victim tellers into giving her the money. STEWART said that no one was
forcing her to do these robberies. STEWART said that Holt was not involved in the bank
robberies. STEWART had told Holt that she was getting money that her father had sent to
her. STEWART stated that she had been staying at the Extended Stay Hotel with Holt, but

she could not remember the room number.

37. On October 29, 2021, Holt contacted your Affiant via telephone. During that
interaction, Holt provided information regarding the Subject Cellular Telephones which
investigators had previously seized from Holt on October 13, 2021. Holt described one
device as a Motorola G7 (Subject Cellular Telephone 1) and the other a Samsung device
(Subject Cellular Telephone 2.) Holt advised that STEWART had access to and used
both of the Subject Cellular Telephones while they were together. Holt indicated
STEWART likely used Subject Cellular Telephone 1 more than Subject Cellular
Telephone 2. Holt said he believed there may be several text messages of investigative
interest on those phones that STEWART had sent. Holt said that at the time he did not
think anything of the messages but, following STEWART’s on October 13, 2021, Holt

 
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began to understand the context that those messages might be in. Holt did not know with
whom the text messages were sent or received. He described them as being with a phone
number that was not associated with a contact name in the phone. Holt did not specify if

only one or both of the cell phone devices contained the messages.

38. Based on the fact that STEWART had access to and used both of the Subject
Cellular Telephones and the fact that Holt indicated there were text messages on the
Subject Cellular Telephones that would be of investigative interest to law enforcement,
your Affiant finds it reasonable to believe that information and evidence relevant and
material to this investigation will be found on the Subject Cellular Telephones which
were seized from Holt following the bank robbery committed by STEWART on October
13, 2021.

Digital Evidence Stored Within a Cellular Telephone

39. As described in Attachment B, this application seeks permission to search
for records and information that might be found in the contents of the Subject Cellular
Telephones. Thus, the warrant applied for would authorize the copying of electronically

stored information under Rule 41(e)(2)(B).

40. Probable Cause: Your Affiant submits that there is probable cause to believe
records and information relevant to the criminal violations set forth in this Affidavit will

be stored in Subject Cellular Telephones for the following reasons:

a. Based on my knowledge, training and experience, and in consultation with
other experienced investigators, your Affiant is aware that individuals
involved in criminal activity, to include bank robberies, often maintain at
their residences, vehicles, and on their property, tools and other implements
they used during or in furtherance of the commission of the crime.

Individuals involved in robberies will also maintain notes or other documents
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containing the names and contacts of their associates. These individuals will

also maintain notes or other documents related to the planning, preparation

and execution of the crime or related to the victim. Sometimes bank robbers

take pictures or videos of themselves, their fellow conspirators, clothing or

instruments used in the commission of crimes, as well as money or property

obtained during the course of the robberies and post those pictures or videos

on social media websites, store them in cloud-based accounts, which are

connected to their cell phone, or share them via cell phone applications and

messaging services. I also know that criminals, to include bank robbers, will

use various means of communication, to include telephonic and/or other

electronic means, to communicate with fellow conspirators and share

information, including the use of messenger service applications on their cell

phones, These communications may take place at various stages of the

commission of the crime, i.e, the planning of, execution of, or after the crime.

b. Based on my knowledge, training and experience, and in consultation with

other experienced investigators, your Affiant knows that a cell telephone,

cellular phone, or mobile telephone is a handheld wireless device used for

voice communication through radio signals. These telephones send signals

through networks. of transmitters/receivers called “cells,” enabling

communication with other cellular telephones and traditional “land line”

telephones. A cell phone usually includes a “call log,” which records the

telephone number, date, and time of calls made to and from the phone. In

addition to enabling voice communications, cell phones now offer a broad

range of capabilities. These capabilities include: storing names, phone

numbers, addresses and other contact information in electronic “address

books” or “contact lists;” sending, receiving, and storing text messages,

multimedia messages, email, and other message types; taking, sending,

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receiving and storing still photographs and moving video; storing and

playing back audio files; storing dates, notes, appointments, and other

information on personal calendars; accessing social media sites and

applications; and accessing and downloading information from the Internet.

With the capability to access the Internet, data files, logs and other

information are often stored or maintained on the cell phone. Cell phones

may also include global positioning system (GPS) technology for

determining location of the device. Additionally, most cell phones offer the

ability to run applications or computer software developed for use on mobile

devices. These applications give cell phones many of the same capabilities

as personal computers. It is common for cell phone applications to utilize or

keep the GPS or location history information. Cell phones and mobile

devices can be used to store data and files, either on internal storage media

or on removable media such as a memory card.

c. Based on your Affiant’s training and experience, individuals rely heavily on

their cellular telephones and their communications in their day-to-day

activities and actions. These communications are often in the form of

telephone calls, voice messages, SMS text messages, mobile messaging

service applications, photo sharing, social media, and other similar

communications. Records and copies of such communications are often kept

on the cell phone or mobile device. Individuals also rely heavily on their cell

phones and mobile devices to maintain their “address books” and “contact

lists” and for notetaking, calendaring, and navigation.

d. Your Affiant knows that when an individual uses a cellular telephone, the

cellular telephone may serve both as an instrumentality for committing the

crime and also as a storage medium for evidence of the crime. The cellular

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telephone is an instrumentality of the crime because it is used as a means of
committing the criminal offense. The cellular telephone is also likely to be
a storage medium for evidence of crime. From my training and experience,
your Affiant believes that a cellular telephone used to commit a crime of this
type may contain: data that is evidence of how the cellular telephone was
used; data that was sent or received; notes as to how the criminal conduct
was achieved; records of Internet discussions about the crime; and other

records that indicate the nature of the offense.

. Based on my knowledge, training, and experience, your Affiant knows that
cellular telephones contain electronically stored data, including, but not
limited to, records related to communications made to or from the cellular
telephone, such as the associated telephone numbers or account identifiers,
the dates and times of the communications, and the content of stored text
messages, e-mails, and other communications; names and telephone numbers
stored in electronic “address books;” photographs, videos, and audio files;
stored dates, appointments, and other information on personal calendars;
notes, documents, or text files; information that has been accessed and
downloaded from the Internet; and global positioning system (“GPS”)

information.

Based on my knowledge, training, and experience, your Affiant knows that
electronic files or remnants of such files can be recovered months or even
years after they have been downloaded onto a cellular telephone, deleted, or
viewed via the Internet. Electronic files downloaded to a cellular telephone
can be stored for years at little or no cost. Even when files have been deleted,
they can be recovered months or years later using forensic tools. This is so

because when a person “deletes” a file on a cellular telephone, the data

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41.

contained in the file does not actually disappear; rather, that data remains on

the cellular telephone until it is overwritten by new data.

. Therefore, deleted files, or remnants of deleted files, may reside in free space

or slack space—that is, in space on the cellular telephone that is not currently
being used by an active file—for long periods of time before they are
overwritten. In addition, a cellular telephone’s operating system may also

keep a record of deleted data in a “swap” or “recovery” file.

Forensic Evidence: As further described in Attachment B, this application

seeks permission to locate not only electronic files that might serve as direct evidence of

the crimes described on the warrant, but also for forensic electronic evidence that

establishes how the cellular telephone was used, the purpose of the use, who used it, and

when. There is probable cause to believe that this forensic electronic evidence will be

found in the contents of the Subject Cellular Telephones because:

a. Data in a cellular telephone can provide evidence of a file that was once in

the contents of the cellular telephone but has since been deleted or edited, or
of a deleted portion of a file (such as a paragraph that has been deleted from

a word processing file).

. As explained herein, information stored within a cellular telephone may

provide crucial evidence of the “who, what, why, when, where, and how” of
the criminal conduct under investigation, thus enabling the United States to
establish and prove each element or alternatively, to exclude the innocent
from further suspicion. In my training and experience, information stored
within electronic storage medium (eg. registry information,
communications, images and movies, transactional information, records of

session times and durations, internet history, and anti-virus, spyware, and

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malware detection programs) can indicate who has used or controlled the

cellular telephone. This “user attribution” evidence is analogous to the

search for “indicia of occupancy” while executing a search warrant at a

residence. The existence or absence of anti-virus, spyware, and malware

detection programs may indicate whether the cellular telephone was remotely

accessed, thus inculpating or exculpating the owner. Further, activity on a

cellular telephone can indicate how and when the cellular telephone was

accessed or used. For example, as described herein, cellular telephones can

contain information that log: session times and durations, activity associated

with user accounts, electronic storage media that connected with the cellular

telephone, and the IP addresses through which the cellular telephone

accessed networks and the internet. Such information allows investigators

to understand the chronological context of cellular telephone access, use, and

events relating to the crime under investigation. Additionally, some

information stored within a cellular telephone may provide crucial evidence

relating to the physical location of other evidence and the suspect. For

example, images stored on a cellular telephone may both show a particular

location and have geolocation information incorporated into its file data.

Such file data typically also contains information indicating when the file or

image was created. The geographic and timeline information described

herein may either inculpate or exculpate the user of the cellular telephone.

Last, information stored within a cellular telephone may provide relevant

insight into the user’s state of mind as it relates to the offense under

investigation. For example, information within a computer may indicate the

owner’s motive and intent to commit a crime (e.g., internet searches

indicating criminal planning), or consciousness of guilt (e.g., running a

“wiping” program to destroy evidence on the computer or password

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protecting/encrypting such evidence in an effort to conceal it from law

enforcement).

c. A person with appropriate familiarity with how a cellular telephone works
can, after examining this forensic evidence in its proper context, draw
conclusions about how the cellular telephone was used, the purpose of its

use, who used it, and when.

d. The process of identifying the exact files, blocks, registry entries, logs, or
other forms of forensic evidence on a cellular telephone that are necessary to
draw an accurate conclusion is a dynamic process. While it is possible to
specify in advance the records to be sought, cellular telephone evidence is
not always data that can be merely reviewed by a review team and passed
along to investigators. Whether data stored on one cellular telephone is
evidence may depend on other information stored on that or other storage
media and the application of knowledge about how electronic storage media
behave. Therefore, contextual information necessary to understand other

evidence also falls within the scope of the warrant.

e. Further, in finding evidence of how a cellular telephone was used, the
purpose of its use, who used it, and when, sometimes it is necessary to
establish that a particular thing is not present on a storage medium. For
example, the presence or absence of counter-forensic programs or anti-virus
programs (and associated data) may be relevant to establishing the user’s

intent.

42. Nature of Examination: Based on the foregoing, and consistent with Rule

41(e)(2)(B), the warrant your Affiant is applying for would permit imaging or otherwise

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copying the contents of the Subject Cellular Telephones, including the use of computer-

assisted scans.
AUTHORIZATION REQUEST

43. Based on the foregoing, your Affiant submits there is probable cause and
reason to believe that the items listed in Attachment B, which constitute evidence and/or
instrumentalities of violations of 18 U.S.C. § 2113 Bank Robbery and Incidental Crimes,
are likely to be found in the contents of the Subject Cellular Telephones further described
in Attachment A, as those items are relevant and related to the ongoing investigation of a

series of bank robberies.

44. Based on the foregoing, your Affiant requests that the Court issue the

proposed search warrant.

Amin K boll
Travis K. Bodily

Special Agent

Federal Bureau of Investigation

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Ib day of November, 2021.

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Subscribed and sworn to before me telephonically this

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HONORABLE JOHN Z BOYLE
United States Magistrate Judge

 

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